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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                Case No. 12-60460-CV-MIDDLEBROOKS


   UNITED STATES OF AMERICA,

                          Plaintiff,

   v.                                                             AMENDED COMPLAINT

   THE STATE OF FLORIDA,

                          Defendant.



                                           INTRODUCTION

   1.     The United States brings this action against the State of Florida to enforce the

   requirement under the Americans with Disabilities Act of 1990 (ADA) that the State provide

   services to children with disabilities in their homes and communities when they can be served

   there, rather than providing them services in institutional nursing facilities.

   2.     The State discriminates against children (i.e., individuals under the age of twenty-one)

   with disabilities by failing to administer its services in the most integrated setting appropriate to

   their needs, in violation of the ADA.

   3.     The result is that hundreds of children with disabilities have been subject to prolonged

   and unnecessary institutionalization in nursing facilities, while others are placed at serious risk of

   such institutionalization.

   4.     The State administers a service system for children with disabilities. Like all other states,

   Florida uses Medicaid money to fund long-term care services for children. The State funds both

   facility-based services, where many children live away from their families and communities in

   hospital-like nursing facilities, and community-based services, where children live with their
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   families or in a Medical Foster Care home with another family while receiving the nursing and

   other care they need.

   5.     Unnecessary institutionalization harms children by, among other things, denying them the

   opportunity to develop and maintain bonds with family and friends, impairing their ability to

   interact with peers without disabilities, and preventing them from having the life experiences that

   contribute to child development.

   6.     More than 100 children with disabilities are currently unnecessarily institutionalized in

   nursing facilities in Florida. A number of young adults who were admitted to these institutions

   as children and grew up in the facilities also remain there unnecessarily. These children and

   young adults (collectively, the “Institutionalized Children”) could live at home with their

   families or in another family home if provided the community-based services they need, such as

   in-home nursing services. The families of many of the Institutionalized Children would choose

   for their children to live at home or in another family home if provided a meaningful opportunity

   to do so. However, due to the State’s discriminatory administration of its service system, the

   families and guardians of Institutionalized Children have no meaningful choice other than to

   place their children in institutions—where they spend their formative years separated from their

   families and segregated from their communities.

   7.     Certain other children with disabilities, who receive State services in their homes and

   communities, are at serious risk of having to enter nursing facilities to access needed services

   (collectively, the “At-Risk Children”). The At-Risk Children are eligible for, but are unable to

   access, the home and community-based services they need to remain in their homes and

   communities. In many cases, they cannot access the services or supports the State has

   acknowledged they need. In others, the State has failed to accurately assess their need for



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   services or to inform their families about specific services and supports that could help them

   keep their children home. As a result of their lack of services, families are left to fill in gaps in

   skilled care that their children are entitled to receive through Medicaid. When this lack of

   needed services will likely result in declines in children’s health, safety, or welfare, children are

   at serious risk of institutional placement. As a result of having to provide full-time or constant

   skilled care, parents and caregivers have lost their jobs; have been unable to maintain the

   physical strain required by constant caregiving; and have been unable to care for other children

   in the home, situations in which families can become incapable of providing sustained long-term

   skilled care.

   8.      As described further below, the State could make reasonable modifications to its service

   system that would avoid discrimination by enabling more children to live with their families and

   in their communities, and to access the services they need to remain there.

                                             JURISDICTION

   9.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345, because it

   involves claims arising under federal law. See 42 U.S.C. §§ 12132, 12133. The Court may grant

   the relief sought in this action pursuant to 28 U.S.C. §§ 2201, 2202. See also 42 U.S.C. § 12133.

   10.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial part of

   the acts and omissions giving rise to this action occurred in the Southern District of Florida. 28

   U.S.C. § 1391(b).

                                                 PARTIES

   11.     Plaintiff is the United States of America and brings this action under 42 U.S.C. §§ 12131-

   12134 to enforce the rights of the Institutionalized and At-Risk Children, who are persons with

   disabilities under the ADA.



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   12.    Defendant, the State of Florida, is a “public entity” within the meaning of the ADA, 42

   U.S.C. § 12131(1), and is therefore subject to Title II of the ADA, 42 U.S.C. §§ 12131-12134,

   and its implementing regulation, 28 C.F.R. Part 35.

                       STATUTORY AND REGULATORY BACKGROUND

   13.    Congress enacted the ADA in 1990 “to provide a clear and comprehensive national

   mandate for the elimination of discrimination against individuals with disabilities.” 42 U.S.C. §

   12101(b)(1). It found that “historically, society has tended to isolate and segregate individuals

   with disabilities, and, despite some improvements, such forms of discrimination against

   individuals with disabilities continue to be a serious and pervasive social problem.” Id. §

   12101(a)(2).

   14.    For those reasons, among others, Title II of the ADA prohibits discrimination against

   individuals with disabilities by public entities: “[N]o qualified individual with a disability shall,

   by reason of such disability, be excluded from participation in or be denied the benefits of the

   services, programs, or activities of a public entity, or be subjected to discrimination by any such

   entity.” Id. § 12132.

   15.    A “public entity” includes any state or local government, as well as any department,

   agency, or other instrumentality of a state or local government. 42 U.S.C. § 12131(1). Title II’s

   prohibition on discrimination applies to all services, programs, and activities provided or made

   available by public entities, such as through contractual, licensing, or other arrangements. Id. §

   12132; 28 C.F.R. § 35.130(b).

   16.    Congress directed the Attorney General to issue regulations implementing Title II of the

   ADA. 42 U.S.C. § 12134. The Title II regulations require public entities to “administer

   services, programs, and activities in the most integrated setting appropriate to the needs of

   qualified individuals with disabilities.” 28 C.F.R. § 35.130(d).
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   17.     Under that “integration regulation,” 28 C.F.R. § 35.130(d), the most integrated setting is

   one that “enables individuals with disabilities to interact with nondisabled persons to the fullest

   extent possible.” 28 C.F.R. Pt. 35, App. B, at 703 (2021).

   18.     Regulations implementing Title II of the ADA further prohibit public entities from,

   directly or through contractual or other arrangements, utilizing “criteria or methods of

   administration” that have the effect of subjecting qualified individuals with disabilities to

   discrimination or “[t]hat have the purpose or effect of defeating or substantially impairing

   accomplishment of the objectives of the public entity’s program with respect to individuals with

   disabilities . . . .” 28 C.F. R. § 35.130(b)(3).

   19.     Title II’s implementing regulation requires public entities to “make reasonable

   modifications in policies, practices, or procedures” to avoid discrimination on the basis of

   disability, unless the entity can show that “making the modifications would fundamentally alter

   the nature of the service, program, or activity.” 28 C.F.R. § 35.130(b)(7)(i).

   20.     In Olmstead v. L.C., the Supreme Court held that Title II prohibits the unjustified

   segregation of individuals with disabilities. 527 U.S. 581, 597 (1999). The Court explained that

   its holding “reflects two evident judgments.” Id. at 600. “First, institutional placement of

   persons who can handle and benefit from community settings perpetuates unwarranted

   assumptions that persons so isolated are incapable or unworthy of participating in community

   life.” Id. “Second, confinement in an institution severely diminishes the everyday life activities

   of individuals, including family relations, social contacts, work options, economic independence,

   educational advancement, and cultural enrichment.” Id. at 601.

   21.     Under Olmstead, public entities are required to provide community-based services when

   (a) such services are appropriate, (b) the affected persons do not oppose community-based



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   treatment, and (c) the provision of community-based services can be reasonably accommodated,

   taking into account the resources available to the entity and the needs of other persons with

   disabilities. Id. at 607.

               BACKGROUND: CHILDREN WITH COMPLEX MEDICAL NEEDS

   22.     The Institutionalized Children and At-Risk Children have complex medical needs. They

   have disabilities as defined by the ADA, and they are qualified to participate in the State’s

   programs, services and activities, including home and community-based services.

   23.     Children with complex medical needs have chronic medical conditions, which may be

   congenital or acquired, that are considered by the medical community to be severe. Children

   with complex medical needs typically rely on services from multiple service providers for health

   care and for “activities of daily living” like bathing and dressing (ADLs). Many rely on special

   technology or equipment for communication, mobility, breathing, eating, and/or other tasks.

   Eyal Cohen et al., Children With Medical Complexity: An Emerging Population for Clinical and

   Research Initiatives, 127 PEDIATRICS, no. 3, March 2011, at 529, 530-31. Children with complex

   medical needs include those whom the State defines as “medically complex” or “medically

   fragile.”

   24.     Florida defines “[m]edically complex” as having “chronic debilitating conditions of one

   or more physiological or organ systems that make the person dependent upon 24-hour per day

   medical, nursing or health supervision or intervention.” Fla. Admin. Code R. 59G-5.020(1);

   Florida Medicaid Provider General Handbook, at B-10 (July 2012), available at

   https://ahca.myflorida.com/medicaid/review/General/59G_5020_Provider_General_REQUIREM

   ENTS.pdf (incorporated by reference in Fla. Admin. Code R. 59G-5.020(1)).

   25.     Florida defines “[m]edically fragile” as being “medically complex and technologically

   dependent on medical apparatus or procedures to sustain life. Examples are individuals who
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   require total parenteral nutrition, are ventilator dependent, or are dependent on a heightened level

   of medical supervision to sustain life, and without such services are likely to expire without

   warning.” Id. at B-11.

   26.    As described further below, the State, through its Medicaid program, has created a system

   of services through which children with complex medical needs receive necessary health care,

   therapies, medical equipment, technology and adaptive equipment, and assistance with ADLs.

                                 THE STATE’S SERVICE SYSTEM

   27.    The State administers and funds services for children with complex medical needs

   through various agencies, departments, and programs.

   28.    Florida’s Agency for Health Care Administration (AHCA) is responsible for

   administering the State’s Medicaid Program under Title XIX of the Social Security Act

   (Medicaid Act), 42 U.S.C. §§ 1396-1396v. See Fla. Stat. §§ 20.42, 409.902.

   29.    The Medicaid Act’s Early and Periodic Screening, Diagnostic, and Treatment (EPSDT)

   provisions require AHCA to provide all Medicaid-eligible individuals under the age of twenty-

   one with all medically necessary services coverable under a Medicaid State Plan. These include

   home health services needed and used by children with complex medical needs, such as in-home

   nursing services (private duty nursing) and in-home assistance with ADLs (personal care

   services); physical and occupational therapies; and other medically necessary services. See 42

   U.S.C. §§ 1396a(a)(43), 1396d(a), 1396d(r)(5).

   30.    The State delivers Medicaid services to most Florida Medicaid recipients through its

   Statewide Medicaid Managed Care (SMMC) program, which AHCA administers. Under the

   SMMC program, the State contracts with private managed care plans to provide medical and

   long-term care services to eligible recipients.



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   31.    The Florida Department of Health (DOH) partners with one private managed care plan to

   operate the Children’s Medical Services Health Plan. The Children’s Medical Services Health

   Plan is a “specialty plan” geared toward providing children with special healthcare needs1 with

   medical and long-term care services. Children with complex medical needs are children with

   special health care needs.

   32.    The State’s Children’s Medical Services Program (FLCMS), within DOH, has lead

   responsibility for facilitating collaboration with AHCA and the Florida Agency for Persons with

   Disabilities (APD) to arrange for long-term care services for children with certain special health

   care needs, including those with complex medical needs. See Fla. Stat. §§ 20.43, 391.016,

   391.021(2), 391.026.

   33.    APD administers the State’s Home and Community-Based Services (HCBS) waiver

   program2 for individuals with developmental disabilities, called the “iBudget” waiver. See Fla.

   Stat. § 20.197. This program funds services that children with complex medical needs who have

   developmental disabilities can receive in their homes and communities.

   34.    DOH and AHCA administer a number of other HCBS waiver programs for individuals

   with other specific diagnoses, including two that are open to children. See generally Fla. Admin.

   Code R. 59G-13.




   1
    Under Florida law, a child with “special health care needs” is any child “younger than 21 years
   of age who [has] chronic and serious physical, developmental, behavioral, or emotional
   conditions and who require[s] health care and related services of a type or amount beyond that
   which is generally required by children.” Fla. Stat. § 391.021(2).
   2
     Section 1915(c) of the Medicaid Act permits states to request waiver of certain requirements of
   the Medicaid Act to offer a variety of community-based services and supports to individuals with
   disabilities. See 42 U.S.C. § 1396n(c).


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   35.    Florida’s Department of Children and Families (DCF) administers the State’s foster care

   system, including determining the placement of children with complex medical needs who are in

   the custody of the State. Fla. Stat. §§ 20.19, 39.811, 409.145.

   36.    DCF, in coordination with AHCA and FLCMS, also funds and administers Medical

   Foster Care, a statewide program to provide family-based care for children with complex

   medical needs who are unable to safely receive care in their own homes.

                     THE STATE’S VIOLATION OF TITLE II OF THE ADA

   A.     More Than One Hundred Children with Disabilities Reside in Segregated Nursing
          Facilities in Florida.

   37.    More than 100 Institutionalized Children currently reside in segregated, institutional

   nursing facilities in Florida. This group includes young adults who entered the facilities as

   children and have remained there past the age of twenty-one.

   38.    The Institutionalized Children spend most of their days residing in shared rooms with

   other individuals with disabilities, watching television, or doing no activities at all. Some of the

   Institutionalized Children, including children who are able to walk, are kept in crib-sized

   enclosures with no opportunity to move, play, learn, or socialize for much of the day. They

   cannot leave these enclosures without permission.

   39.    When they are not in their rooms, the Institutionalized Children participate in activities

   with other individuals with disabilities and have only limited interaction with individuals without

   disabilities. Some Institutionalized Children leave their rooms only for thirty-minute activity

   breaks, treatment and therapy, or educational services. Many of the residents’ families live in

   other areas of the State, leaving the children hundreds of miles from family and loved ones.

   40.    Educational services for most of these children consist of classes in activity rooms within

   the nursing facilities, sometimes for only one or two hours a week. Other children are


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    transported from their facilities to programs in their local school districts, but, because they are

    institutionalized, they are unable to fully enjoy the benefits of education in the community.

    41.    The interiors of these facilities resemble hospitals. Children are housed in rooms with at

    least one, and sometimes three or more, other individuals.

    42.    Institutionalization does not provide the stimulation and variety of interactions that occur

    in the community—the kind of interactions that contribute to the full development of a child or

    young adult. Residents’ choices regarding how they spend their day are severely limited.

    School-aged children, including those who can talk and count, have little stimulation other than

    watching television. The activities and television shows provided for residents are sometimes

    age-inappropriate; for example, teenagers are often placed in rooms with much younger children

    with no stimulation other than to watch cartoons. Because their primary caregivers are shift-

    based employees, babies, children, and young adults living in nursing facilities do not have the

    opportunity to experience the nature and quantity of interactions provided by living in a family

    setting, and instead they may spend hours during each day alone in their rooms.

    B.     The State Has Created A Service System That Causes Unnecessary Segregation of
           Children in Nursing Facilities and Places Others At Serious Risk of Unnecessary
           Institutionalization.

    43.    The State has created a system that unnecessarily segregates the Institutionalized

    Children and places other children with complex medical needs at serious risk of unnecessary

    institutionalization. Over the course of approximately the last two decades, the State has limited

    the availability of many community-based services for children with complex medical needs. It

    has done so by: (1) enacting policies and engaging in practices that have resulted in the limitation

    of medically necessary in-home services and supports; (2) failing to ensure sufficient capacity in

    its HCBS waiver programs; and (3) failing to ensure sufficient capacity in non-institutional,

    family-based settings in which children with complex medical needs could receive needed
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    services. It has also failed to effectively prevent inappropriate nursing facility admissions, and it

    has not offered Institutionalized Children real opportunities to return to the community.

            i.     Failure to Provide Access to Medically Necessary In-Home Services and Supports

    44.     The State is independently obligated to provide medically necessary in-home services

    and supports, including in-home nursing services, to Medicaid-eligible children pursuant to the

    EPSDT requirements of the Medicaid Act. 42 U.S.C. §§ 1396a(a)(43), 1396d(a)(4), 1396d(r)(1)-

    (5).

    45.     Yet many children with disabilities in Florida have been unable to access the Medicaid

    in-home nursing services that would allow them to remain in their homes.

    46.     Until 2016, a Florida regulation required Medicaid-reimbursed in-home nursing services

    to “[b]e furnished in a manner not primarily intended for the convenience of the recipient, the

    recipient’s caretaker, or the provider.” Fla. Admin. Code R. 59G-4.261.

    47.     Until 2013, the State’s service manuals also instructed that in-home nursing services

    would be “reduced over time” as parents (or other members of the household, including siblings

    and grandparents) learned to perform skilled medical interventions on their children.

    48.     Additionally, from 2010 until 2013, the State required eligible children with disabilities

    to enroll in Prescribed Pediatric Extended Care (PPEC) services (a congregate day program for

    children with disabilities) instead of private duty nursing, even though the children were

    qualified for in-home nursing. The State offered private duty nursing as a supplemental service

    only.

    49.     The State used the requirements described in Paragraphs 46-48 above to deny services

    that children’s physicians prescribed and to compel parents, siblings, grandparents, and other

    family members to provide medically necessary care that should have been provided through

    State Medicaid services.
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    50.     The State changed the policies described in Paragraphs 46-48 above after the United

    States opened its investigation in 2011.

    51.     Nevertheless, a number of children were placed in nursing facilities as a result of the

    State policies described in Paragraphs 46-48 above. Families who tried to keep children at home

    were not provided in-home services that would have enabled them to do so. As a result, they had

    no real choice but to place their child in a nursing facility to receive necessary care. Some of

    these children remain in nursing facilities today.

    52.     Families of Institutionalized Children were told that if they brought their children home

    they would face gradual reductions in hours of in-home services, or that their children would not

    have access to the same types of therapies or other services that their children received in nursing

    facilities.

    53.     Although the State’s written policies described in Paragraphs 46-48 above are no longer

    in effect, the State is still failing to ensure that the Institutionalized Children and At-Risk

    Children can access sufficient in-home nursing services.

    54.     For example, even when the State has approved in-home nursing services, many children

    who live in the community are unable to access the full amount of approved hours of these

    services—hours the State has determined they need—leaving dangerous gaps in their care.

    55.     For many Institutionalized Children, the State’s failure to maintain a sufficient network

    of in-home nursing providers prevents them from leaving nursing facilities to live in the

    community with their families rather than in nursing facilities.

    56.      The Medicaid reimbursement rate the State currently pays home health agencies for in-

    home nursing services provided by a registered nurse is lower than it was in 1989. The hourly




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    rate the State pays for such services provided by a licensed practical nurse is only $1.40 higher

    than the State paid in 1989.

    57.    In 2007 and 2008, AHCA reported that providers of home health services had indicated

    they would be unable to continue providing services to Medicaid beneficiaries because of low

    reimbursement rates. A 2007 AHCA report stated that “many Medicaid beneficiaries state they

    are unable to access state plan [home health] services due to low rates.” In 2008, a similar

    request for increased funding noted that AHCA “has documented growing numbers of home

    health agency providers who have stated . . . they will be incapable of continuing to provide

    services to Medicaid beneficiaries” due to insufficient reimbursement rates. Yet rates remained

    the same.

    58.    In allocating funds, the State has failed to ensure sufficient capacity of community-based

    services for children with complex medical needs. For example, the State reduced funding for

    private duty nursing services by approximately six million dollars in 2010.

    59.    In 2022, AHCA again requested funding to increase reimbursement rates for private duty

    nursing providers, and it reported that “Florida faces a shortage of nurses that is projected to

    continue through 2030 and potentially beyond. A rate increase could help expand the network of

    providers that are willing to provide [in-home nursing services to children] and will help

    providers recruit and retain sufficient nurses to meet the needs of the children.”

    60.    Insufficient reimbursement rates have contributed to shortages of nursing services in

    certain parts of the State and to the unnecessary institutionalization of children with complex

    medical needs.

    61.    Shortages of nursing services have also caused some children currently living in the

    community to be at serious risk of unnecessary institutionalization. When necessary services are



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    unavailable, parents must provide skilled care themselves, sometimes losing jobs or having to

    turn down employment in order to ensure their children can continue to live at home. If these

    parents were to become ill or disabled themselves, their children would likely have to enter

    institutions to receive medically necessary services. Meanwhile, children who are hospitalized

    face nursing provider shortages once they are medically ready to return home. Without

    sufficient services available for them in the community, hospitals are forced to delay their

    discharge.

    62.    Even as it has reduced or limited the availability of community-based services, the State

    has increased funding for nursing facility care for children with complex medical needs.

    63.    Since January 2004, the daily supplemental rate paid to facilities serving medically

    fragile children has increased by more than 62%. Using State and federal dollars, AHCA pays

    an enhanced rate of up to approximately $645 per day to nursing facilities for each of the

    Institutionalized Children.

    64.    The State could increase access to in-home care through reasonable modifications that

    would make sufficient in-home services accessible.

           ii.     Insufficient Capacity in HCBS Waiver Programs

    65.    Most of the Institutionalized Children and At-Risk Children are eligible for services in

    Florida’s Medicaid waiver programs, including the HCBS waiver for persons with

    developmental disabilities (the iBudget waiver). Services available through the HCBS waiver

    programs include services and supports not accessible through other State programs but that

    children with complex medical needs and their families nevertheless may require, such as home

    modifications for accessibility, respite care, and funding to support individuals who live in

    community-based settings other than their family home. Some children need these waiver

    services so they can live at home. For example, some families want to bring their children home
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    from nursing facilities but need home modifications to make their homes accessible for their

    children. If that waiver service is not provided, it may frustrate efforts to serve the children at

    home.

    66.     The iBudget waiver, Florida’s largest waiver program, has a lengthy waiting list. Since

    July 2005, the number of individuals on the waiting list for services under the iBudget waiver

    program has grown from 14,629 to over 22,000 in January 2022, and more than half of the

    individuals on the list have waited for five years or more. At least 9,500—or over 40%—of the

    individuals on the waitlist are children. Only individuals deemed to be in “crisis” are given

    priority for admission from the waiting list, but even these individuals are not always able to

    enroll in the waiver program due to lack of funding to pay for waiver services the State has

    committed to provide.

    67.     Children who would benefit from waiver services have entered nursing facilities instead,

    due to the lengthy waiting list for services.

    68.     Children have remained in nursing facilities for years while waiting to be enrolled in

    waiver programs.

    69.     The State could reasonably modify its service system to increase access to its waiver

    programs for children with complex medical needs.

            iii.   Lack of Sufficient Community-Based Alternatives

    70.     The State has also failed to provide access to settings other than institutional nursing

    facilities, such as family-based settings, in which children with complex medical needs can

    receive needed care.

    71.     The State’s Medical Foster Care (MFC) program offers care in a family-based setting.

    The purpose of the Medical Foster Care program is “[t]o enhance the quality of life and allow

    MFC children to receive home-based services specific to their medical needs that will enable
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    children to develop to their fullest potential, regardless of their prognosis . . . [and to] provide a

    family-based, individualized, therapeutic” environment. See DOH, DCF, & AHCA, Medical

    Foster Care Statewide Operational Plan, at 1-1 (2014).

    72.     Medical Foster Care is not available to a child unless the child’s parent or guardian has

    lost custody to DCF. This means that, for a parent or guardian who is unable to have their child

    live at home, the only available options are to place their child in a nursing facility or to

    renounce their parental rights and surrender custody to the State. Such families cannot access

    Florida’s family-based service alternative to institutional nursing facilities.

    73.     In addition, there are currently too few Medical Foster Care families to meet the need for

    the service.

    74.     Florida has not raised the Medical Foster Care reimbursement rate in over 30 years. The

    rates of reimbursement Florida has set for Medical Foster Care parents are not sufficient to

    enable them to provide care for children on a full-time basis or to recruit enough families to meet

    children’s need for the service. Medical Foster Care parents receive a monthly room-and-board

    payment rate that is less than or comparable to what Florida Medicaid pays a nursing facility for

    a single day for a medically fragile child.

    75.     In the past, as many as 20% of children in nursing facilities were in the State’s custody.

    Since 2007, over 65 children in the State’s custody have been admitted to nursing facilities.

    Many were found eligible for Medical Foster Care but were nonetheless institutionalized for

    years in nursing facilities because of the State’s administration of its Medical Foster Care

    program.

            iv.     Deficient Admission and Transition Planning Processes, and Failure to Offer
                    Meaningful Opportunities to Move to the Community




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    76.     Before a child can be admitted to a nursing facility, Florida requires the recommendation

    of a Children’s Multidisciplinary Assessment Team (CMAT). See Fla. Admin. Code R. 59A-

    4.1295(3)(b).

    77.     Collectively, a CMAT includes representatives from AHCA, APD, DOH, FLCMS, DCF,

    and (if applicable) the child’s managed care plan, and meets for each eligible child identified as

    medically fragile or medically complex and needing continual medical, nursing, or health

    supervision.

    78.     The State has failed to ensure that families of children who are entering nursing facilities

    have the time, information, and opportunity to consider other options.

    79.     The CMAT does not provide families with meaningful opportunities to explore options

    other than placing their child in a nursing facility.

    80.     State documents show that Institutionalized Children could be served in their family

    homes or Medical Foster Care homes. But the State has failed to effectively connect these

    children to necessary services and supports so that they could transition out of nursing facilities

    and into the community. In many cases, care coordinators for the Institutionalized Children have

    not told families about the specific services and supports that could help their children transition

    home.

    81.     Many of the Institutionalized Children remain in facilities for very long periods of time,

    even when it is apparent that they could return to the community with appropriate supports. This

    is the direct result of the State’s failure to actively identify more integrated service options for

    them.




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    82.     Because the State fails to ensure the Institutionalized Children have opportunities to

    move to their homes and communities with all necessary services and supports, many have spent

    much or all of their childhoods in a facility and remain there into adulthood.

    83.     Without meaningful transition planning and effective access to community-based

    alternatives to institutional care, it is likely that many of the Institutionalized Children will

    remain in nursing facilities for most or all of their lives.

    C.      The Institutionalized Children and At-Risk Children are Qualified to Receive
            Services in More Integrated Settings, and in Many Cases, They and Their Families
            Would Not Oppose Placement in Such Settings.

    84.     As explained in Paragraph 6, “Institutionalized Children” are (1) children with complex

    medical needs who are unnecessarily institutionalized in nursing homes in Florida; and (2) young

    adults admitted to these institutions as children who remain there unnecessarily. The

    Institutionalized Children could be served in more integrated settings with appropriate services

    and supports.

    85.     Many of the Institutionalized Children’s families, if presented a meaningful opportunity

    to do so, would choose to have their children grow up at home or in other settings that foster

    their full development and that do not segregate them from the community. Many of the young

    adults who have grown up and remain in the nursing facilities would also choose to live in the

    community.

    86.     Families of many Institutionalized Children have made the difficult decision to place

    their children in nursing facilities because they did not know about, or could not access,

    sufficient home and community-based services to allow them to keep their children at home or in

    another family setting. If presented with individualized, realistic alternatives to nursing facility

    placement, including the medically necessary in-home services to which their children are



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    entitled under Medicaid, or a family-based setting alternative to a nursing facility, many of them

    would be interested in community treatment for their children.

    87.    The State has shown that it is possible to serve children with complex medical needs in

    the community through services that already exist within its system. The Institutionalized

    Children’s needs are generally no different than those of children and young adults receiving

    services in more integrated community-based settings. With reasonable modifications, these

    services would permit the Institutionalized Children to be reunited with their families or live in

    other family settings.

    D.     Providing Services in Integrated Settings Can be Achieved Through Reasonable
           Modifications to the State’s Existing Services.

    88.    The actions needed to remedy the State’s ADA violations described in this Complaint

    could be achieved by making reasonable modifications to the State’s service system.

    89.    The array of services that already exist in the State’s service system could, with

    reasonable modifications, meet the needs of the Institutionalized and At-Risk Children. These

    services include private duty nursing; personal care services; home health services; respite

    services; home and environmental modifications; specialized medical equipment and supplies;

    intensive care coordination; transportation; nutrition counseling; dietary supplements; family

    training; behavioral/psychiatric services; habilitation services; and occupational, physical, speech

    and respiratory therapies.

    90.    The State is independently obligated to provide most of these services to Medicaid-

    eligible children pursuant to the EPSDT requirements of the Medicaid Act. 42 U.S.C.

    §§ 1396a(a)(43), 1396d(a)(4), 1396d(r)(1)-(5).

    91.    Supporting children with complex medical needs in the community is a cost-effective

    alternative to institutionalization. Nursing facility care is expensive, and the State has


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    acknowledged that providing nursing services to children with complex medical needs in the

    community is less costly than doing so in institutional settings. For example, one purpose of the

    MFC program, according to the State, is to reduce the cost of long-term care for children with

    complex medical needs, since caring for children in foster homes is less costly than caring for

    them in institutions. See DOH, DCF, & AHCA, Medical Foster Care Statewide Operational

    Plan, at 1-1 (2014).

                UNITED STATES DEPARTMENT OF JUSTICE INVESTIGATION

    92.     In December 2011, after receiving complaints of disability discrimination alleging that

    the State is unnecessarily institutionalizing children with disabilities and placing other children

    with disabilities at risk of unnecessary institutionalization, the Department formally opened an

    investigation.

    93.     In a September 2012 Findings Letter, the Department reported that it had found the State

    in violation of the ADA because it planned, administered, and funded its service system for

    children with disabilities in a manner that results in the unnecessary institutionalization of

    hundreds of children in nursing facilities. The Findings Letter identified numerous remedial

    measures the State could take to comply with federal law, and further advised the State that, in

    the event a resolution could not be reached voluntarily, the United States Attorney General may

    initiate a lawsuit pursuant to the ADA.

    94.     The United States met multiple times with State officials in a good faith effort to achieve

    resolution of the violations identified in the Findings Letter. The Department determined that

    compliance with the ADA could not be secured by voluntary means and filed this action in July

    2013.

    95.     Since the issuance of the Department’s Findings Letter, and since the United States filed

    suit, the State altered some policies that have contributed to the segregation of children with
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    disabilities, but its violations of the ADA remain ongoing. The State’s processes and programs

    for helping children move from nursing facilities to their homes and communities are deficient,

    and barriers to community placement persist.

                 VIOLATION OF TITLE II OF THE ADA, 42 U.S.C. §§ 12131-12134

    96.      The allegations of Paragraphs 1 through 95 of this Complaint are hereby realleged and

    incorporated by reference.

    97.      Defendant, the State of Florida, is a public entity subject to Title II of the ADA, 42

    U.S.C. § 12131(1).

    98.      The Institutionalized and At-Risk Children are persons with disabilities covered by Title

    II of the ADA, and they are qualified to participate in the State’s programs, services and

    activities, including home and community-based services. 42 U.S.C. §§ 12102, 12131(2).

    99.      The State violates the ADA by administering its service system for children with

    disabilities in a manner that fails to ensure that the Institutionalized and At-Risk Children receive

    services in the most integrated setting appropriate to their needs, where they or their parents and

    guardians do not oppose community treatment, and by failing to reasonably modify policies,

    practices and procedures to avoid such discrimination and unnecessary segregation. 42 U.S.C. §

    12132.

    100.     The State’s actions constitute discrimination in violation of Title II of the ADA, 42

    U.S.C. § 12132, and its implementing regulations at 28 C.F.R. Part 35.

    101.     Providing services to the Institutionalized and At-Risk Children in more integrated

    settings can be accomplished with reasonable modifications to the State’s programs and services.

    102.     All conditions precedent to the filing of this Amended Complaint have occurred or been

    performed.



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                                       PRAYER FOR RELIEF

    WHEREFORE, the United States of America prays that the Court:

    (A)   Grant judgment in favor of the United States on its Amended Complaint and declare that

          the State of Florida has violated Title II of the ADA, 42 U.S.C. §§ 12131-12134, by

          failing to administer its services, programs, and activities for the Institutionalized and At-

          Risk Children in the most integrated setting appropriate to their needs, and by failing to

          make reasonable modifications to these services, programs, and activities to prevent

          unnecessary institutionalization and serious risk of unnecessary institutionalization of the

          Institutionalized and At-Risk Children;

    (B)   Enjoin the State of Florida to

          1.     cease discriminating against the Institutionalized and At-Risk Children, by

                 providing them appropriate, integrated community-based services and supports

                 consistent with their individual needs;

          2.     cease discriminating against the Institutionalized and At-Risk Children by

                 providing services and supports in the most integrated setting appropriate to their

                 needs;

          3.     take such steps as may be necessary to prevent the recurrence of any

                 discriminatory conduct in the future and to eliminate the effects of the State’s

                 unlawful conduct;

    (C)   Order such other appropriate relief as the interests of justice may require.




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     Dated: June 15, 2022               Respectfully submitted,


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